     Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 1 of 49 Page ID
                                       #1820




                                                                               1
BURT SELECTED (MR) 0001
     Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 2 of 49 Page ID
                                       #1821




BURT SELECTED (MR) 0002
     Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 3 of 49 Page ID
                                       #1822




BURT SELECTED (MR) 0003
     Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 4 of 49 Page ID
                                       #1823




BURT SELECTED (MR) 0004
     Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 5 of 49 Page ID
                                       #1824




BURT SELECTED (MR) 0005
     Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 6 of 49 Page ID
                                       #1825




BURT SELECTED (MR) 0006
     Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 7 of 49 Page ID
                                       #1826




BURT SELECTED (MR) 0007
     Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 8 of 49 Page ID
                                       #1827




BURT SELECTED (MR) 0008
     Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 9 of 49 Page ID
                                       #1828




BURT SELECTED (MR) 0009
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 10 of 49 Page ID
                                       #1829




BURT SELECTED (MR) 0010
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 11 of 49 Page ID
                                       #1830




BURT SELECTED (MR) 0011
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 12 of 49 Page ID
                                       #1831




BURT SELECTED (MR) 0012
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 13 of 49 Page ID
                                       #1832




BURT SELECTED (MR) 0013
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 14 of 49 Page ID
                                       #1833




BURT SELECTED (MR) 0014
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 15 of 49 Page ID
                                       #1834




BURT SELECTED (MR) 0015
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 16 of 49 Page ID
                                       #1835




BURT SELECTED (MR) 0016
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 17 of 49 Page ID
                                       #1836




BURT SELECTED (MR) 0017
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 18 of 49 Page ID
                                       #1837




BURT SELECTED (MR) 0018
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 19 of 49 Page ID
                                       #1838




BURT SELECTED (MR) 0019
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 20 of 49 Page ID
                                       #1839




BURT SELECTED (MR) 0020
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 21 of 49 Page ID
                                       #1840




BURT SELECTED (MR) 0021
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 22 of 49 Page ID
                                       #1841




BURT SELECTED (MR) 0022
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 23 of 49 Page ID
                                       #1842




BURT SELECTED (MR) 0023
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 24 of 49 Page ID
                                       #1843




BURT SELECTED (MR) 0024
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 25 of 49 Page ID
                                       #1844




BURT SELECTED (MR) 0025
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 26 of 49 Page ID
                                       #1845




BURT SELECTED (MR) 0026
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 27 of 49 Page ID
                                       #1846




BURT SELECTED (MR) 0027
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 28 of 49 Page ID
                                       #1847




BURT SELECTED (MR) 0028
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 29 of 49 Page ID
                                       #1848




BURT SELECTED (MR) 0029
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 30 of 49 Page ID
                                       #1849




BURT SELECTED (MR) 0030
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 31 of 49 Page ID
                                       #1850




BURT SELECTED (MR) 0031
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 32 of 49 Page ID
                                       #1851




BURT SELECTED (MR) 0032
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 33 of 49 Page ID
                                       #1852




BURT SELECTED (MR) 0033
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 34 of 49 Page ID
                                       #1853




BURT SELECTED (MR) 0034
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 35 of 49 Page ID
                                       #1854




BURT SELECTED (MR) 0035
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 36 of 49 Page ID
                                       #1855




BURT SELECTED (MR) 0036
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 37 of 49 Page ID
                                       #1856




BURT SELECTED (MR) 0037
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 38 of 49 Page ID
                                       #1857




BURT SELECTED (MR) 0038
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 39 of 49 Page ID
                                       #1858




BURT SELECTED (MR) 0039
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 40 of 49 Page ID
                                       #1859




BURT SELECTED (MR) 0040
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 41 of 49 Page ID
                                       #1860




BURT SELECTED (MR) 0041
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 42 of 49 Page ID
                                       #1861




BURT SELECTED (MR) 0042
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 43 of 49 Page ID
                                       #1862




BURT SELECTED (MR) 0043
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 44 of 49 Page ID
                                       #1863




BURT SELECTED (MR) 0044
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 45 of 49 Page ID
                                       #1864




BURT SELECTED (MR) 0045
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 46 of 49 Page ID
                                       #1865




BURT SELECTED (MR) 0046
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 47 of 49 Page ID
                                       #1866




BURT SELECTED (MR) 0047
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 48 of 49 Page ID
                                       #1867




BURT SELECTED (MR) 0048
    Case 3:13-cv-00794-NJR-GCS Document 214-1 Filed 06/01/17 Page 49 of 49 Page ID
                                       #1868




BURT SELECTED (MR) 0049
